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                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

 GROUND GAME TEXAS,                            §
                                               §
        Plaintiff,                             §
                                               §
   v.                                          §
                                               §         Civil Action No. __________
 CLARICE Y. BALDERAS, in her                   §
 official capacity as City Secretary           §
 of the City of Edinburg; and CITY             §
 OF EDINBURG, TEXAS;                           §
                                               §
        Defendants.                            §
                                               §


           VERIFIED APPLICATION FOR TEMPORARY RESTRAINING ORDER
           AND COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF

         Ground Game Texas (“Ground Game”) files this verified complaint seeking declaratory and

injunctive relief pursuant to the First Amendment of the United States Constitution.


                                        I.      INTRODUCTION

         1.      The right to petition is one of the fundamental guarantees of the Bill of Rights, but it

is under attack in the City of Edinburg. The Edinburg City Charter guarantees voters the right to

initiate new ordinances via an initiative process, but City staff have decided that only a select few

may participate in petition campaigns.

         2.      The core of this controversy is whether the City of Edinburg may limit petition

gathering to a five-person “committee of the petition” who publicly take responsibility for a local

initiative campaign. In April 2022, after successfully gathering signatures on a petition for a “Living

Wage” for Edinburg employees and contractors, Ground Game submitted 880 signatures of verified

city voters to the Edinburg City Secretary, well in excess of minimum signature requirements. In


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response, the Secretary ruled that the petition failed to comply with City law in three respects: (1) it

did not list the dates of birth of the members of the five-person committee; (2) it did not utilize the

correct language for affidavits for petition circulators; and (3) the signatures were gathered by people

other than the five-person committee of the petition. In response, as permitted by the City Charter,

Ground Game amended its petition by providing the dates of birth and new circulator affidavits that

used the precise language required by the City Charter. Ground Game also provided a memorandum

explaining to the City of Edinburg and the City Secretary that limiting the pool of petition circulators

to a five-person committee was unconstitutional. Nevertheless, on May 20, 2022, the City Secretary

rejected the amended petition. She listed three reasons: (1) that the names and addresses of the five-

person committee did not appear on the face of the petition; (2) the original affidavits were signed

by people other than the five-person committee; and (3) that the amended affidavits were signed by

people other than the five-person committee.

        3.      The City Secretary’s decision to reject Ground Game’s amended petition violates

established First Amendment law. Ground Game’s amended petition complied with local and state

requirements in every respect. Regarding the Secretary’s first objection, Ground Game complied

with local rules concerned the placement of the names of the five-person committee on the petition

form by adding the names to the second page of each petition, and no rule prohibits having a two-

page petition form. As to the second and third objections, both can be distilled to the City Secretary’s

unlawful determination that only members of the five-person committee may collect petition

signatures The City Secretary’s decision is unconstitutional because it not only requires circulators

to be registered Edinburg voters, but it also mandates that only five people in total may gather

signatures for an initiative.




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        4.       To vindicate the First Amendment rights prejudiced by the City Secretary’s decision,

Ground Game requests emergency declaratory and injunctive relief, to ensure that the right to

petition may be fully exercised in the Edinburg community.

                                 II.    JURISDICTION AND VENUE

        5.       Ground Game brings this action under 42 U.S.C. § 1983 to redress the deprivation,

under color of state law, of rights secured by the United States.

        6.       This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 and §

1343(a)(3). The Court may grant the requested temporary restraining order and declaratory and

injunctive relief pursuant to 28 U.S.C. §§ 2201 and 2202 and Rules 57 and 65 of the Federal Rules

of Civil Procedure, as well as the Court's general legal and equitable powers.

        7.       Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial portion of the events giving rise to Ground Game’s claims occurred in this district. Venue

is also appropriate under 28 U.S.C. § 1391(b)(1) because at least one defendant resides in this judicial

district.

                                          III.    PARTIES

        8.       Plaintiff GROUND GAME TEXAS is a nonprofit advocacy organization dedicated

to engaging, activating, and mobilizing Texas voters through progressive issue campaigns. It brings

this action on its own behalf as well as on behalf of the 880 voters of the City of Edinburg who

signed the initiative petition at issue here. As of June 2022, Ground Game is working in ten Texas

cities, collaborating with local organizations to develop and implement city-level ballot measure

campaigns on issues including marijuana decriminalization, a $15 minimum wage, and local action

on climate change. Ground Game calls these campaign issues “workers, wages, and weed.”1 In


1
 Ground Game’s co-founders described their vision for the organization in a summer 2021 op-ed
published in the Washington Post, “Democrats need a winning message. We propose: ‘Workers, wages

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collaboration with local community organization LUPE Votes, Ground Game drafted a “Living

Wage” petition that would require the City of Edinburg to pay employees and contractors at least

$15 per hour. Ground Game staff led the petition campaign with the goal of qualifying the Living

Wage measure for the November 8, 2022, general election ballot.

        9.        Defendant CLARICE Y. BALDERAS is the City Secretary of the City of Edinburg.

In her official capacity, Secretary Balderas must certify whether a voter-initiated petition qualifies

for the ballot.

        10.       Defendant CITY OF EDINBURG, TEXAS adopted a “home rule” city charter as

permitted by the Texas Constitution. Through its Charter, the City authorizes voters to initiate local

ordinances through a petition campaign.

                                   IV.    STATEMENT OF FACTS

A.      The Initiative Process in Edinburg

        11.       The City Charter of Edinburg grants its residents the power to initiate local

ordinances. CHARTER, Art. XIV, § 1 (“The voters shall have the power to propose any ordinance,

except an appropriation ordinance or an ordinance making a tax levy, and to adopt or reject the same

at the polls, such power being known as the initiative.”).

        12.       The Charter provides a multi-step process to qualify a voter initiative for the ballot.

First, voters must submit to the City Secretary signatures of city voters equal to at least 10% of the

electorate in the most recent municipal general election. CHARTER, Art. XIV, § 1. If the Secretary

certifies the signatures submitted, the City Council may adopt the ordinance directly by a majority

vote. Id., § 2. If the City Council does not adopt the ordinance, voters may submit a second quantity

of signatures, equal to at least 5% of the electorate in the most recent municipal general election. Id.,



and weed.’” (available at https://www.washingtonpost.com/opinions/2021/07/13/democrats-midterm-
election-message-workers-wages-weed/).

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§ 3. If the Secretary certifies the second signature submission, the measure must be placed on the

ballot for the next uniform election. Id., § 4; TEX. ELEC. CODE § 41.001.

        13.     The Charter contains several requirements concerning the form of the petition.

Petition papers circulated for signature must be “uniform in character” and must “contain the

proposed resolution or ordinance in full.” CHARTER, Art. XIV, § 1. The circulators of the petition

must attach an affidavit to each separate petition paper. Id., Art. XVI, § 1. The Charter requires

specific language for the affidavit, in which petition circulators attest that they personally witnessed

the signatures collected. Id. Each petition paper must also identify a committee of five Edinburg

voters by name and address. Id. The committee “shall be regarded as responsible for the circulation

and filing of the petition.” Id.

        14.     After petition papers are submitted to the City Secretary, the Secretary has ten days

to determine “whether each paper of the petition is properly attested and whether the petition is

signed by a sufficient number of voters.” CHARTER, Art. XVI, § 2. The City Secretary must certify

the result of their examination to the City Council. Id. If the Secretary certifies that the petition is

insufficient, they must set forth “the particulars in which it is defective.” Id.

        15.     If the City Secretary does not certify a petition, petitioners have ten days to amend

the petition submission. Id., § 3. Upon receipt of an amended petition, the City Secretary has five

more days to issue a final decision on certification. Id.

B.      Ground Game’s Petition Campaign

        16.     Ground Game worked with LUPE Votes, a Rio Grande Valley-based advocacy

organization, to develop the “Living Wage” petition. The proposed ordinance would require the City

of Edinburg to establish a minimum wage of $15 per hour for all City employees. In addition, any

vendor wishing to contract with the City would be required to certify that its workers under the city

contract are paid at least $15 per hour.


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       17.     Together, Ground Game and LUPE Votes developed a budget for the Living Wage

petition campaign to cover costs including campaign management, field personnel, campaign

materials and supplies, data entry, and signature verification. LUPE Votes agreed to provide Ground

Game with a grant of funds to defray campaign costs.

       18.     Next, LUPE Votes identified five City of Edinburg voters who agreed to serve as “a

committee of the petitioner,” as required by the City Charter. CHARTER, Art. XVI, § 1. Ground Game

then created a two-sided petition form that included room for signatures on the front side; on the

back side, Ground Game printed the names and addresses of the committee members, along with the

proposed ordinance language. (“Petition Form,” Ex. A.)

       19.     In January 2022, Ground Game hired Lorena Ramirez and Karen Salazar as field

organizers for the Edinburg Living Wage campaign. Ramirez and Salazar are both skilled political

organizers who live in Hidalgo County. Neither is a registered City of Edinburg voter.

       20.     Ground Game set up a campaign structure to support Ramirez and Salazar as field

organizers. Ben Deatrick supervised the Edinburg team. Deatrick is a veteran of multiple political

campaigns and serves as the Organizing Manager for Ground Game. Together, Ramirez, Salazar and

Deatrick developed a campaign strategy. They used Ground Game’s paid subscriptions to campaign

and database tools, including the Texas voter file, to develop specific outreach plans in voter-rich

areas. The team met weekly as a group; Ramirez and Salazar reported on progress, discussed

challenges, and made plans for the days ahead, while Deatrick offered coaching and support.

       21.     Between approximately January 21 and April 2, 2022, Ramirez and Salazar gathered

thousands of signatures for the Living Wage petition. Along the way, they developed a variety of

tactics to find registered Edinburg voters. They went to public places and shopping centers, fitness

gyms and municipal parks; they visited the University of Texas, Rio Grande Valley campus, early




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voting sites, and community events. They also canvassed voters door-to-door in multiple city

precincts, and they recruited volunteers to assist in gathering signatures.

        22.      To develop a communications strategy that was appropriate for the Edinburg

community, Ramirez and Salazar conducted considerable experimentation. They began with talking

points developed by Ground Game staff and adapted them for different contexts. Ramirez and

Salazar are both bilingual and developed ways to effectively translate the Living Wage policy into

Spanish and casual speech. They developed a persuasive bilingual explanation for why the Living

Wage policy was right for the Edinburg community.

        23.      As Ramirez and Salazar collected signatures, Deatrick supervised a data team

composed of paid staff who work virtually from Austin and across the country. The data team entered

each petition signature into a spreadsheet and cross-referenced the voter file to determine which

signatures were likely valid. Over the course of the campaign, the data team was able to verify

approximately 64% of its gathered signatures, allowing the organization to have confidence in its

submission to the City.

        24.      Under the City Charter, Ground Game was required to submit signatures equal to ten

percent of the turnout of the most recent general municipal election to obtain City Secretary

verification. At the November 2, 2021, election in Edinburg, 8,042 people voted in the citywide

mayor election.2 Thus, Ground Game was required to submit at least 804 valid signatures to obtain

certification.




2
 Hidalgo County publishes results of the November 2, 2021, City of Edinburg election on its website:
https://results.enr.clarityelections.com/TX/Hidalgo/111122/web.278093/#/summary (last accessed
May 31, 2022).

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       25.     On April 14, 2022, Ground Game submitted 214 pages of signed petitions to the City

Secretary. The organization provided a cover memorandum that described how the organization had

pre-verified the signatures of at least 880 registered Edinburg voters.

C.     City Secretary Denial of Certification

       26.     On May 6, 2022, the Edinburg Interim City Secretary Elizabeth Rodriguez notified

Ground Game that she would not certify the Living Wage petition. (“Secretary’s First Letter, Ex.

B.”)

       27.     The Secretary’s letter to Ground Game listed three reasons for her decision. The

Secretary’s first reason was that Ground Game’s petition was circulated by people who were not

among the five members of the petitioner’s committee. The Secretary’s second reason was that

Ground Game did not provide the dates of birth of the five members of the petitioner’s committee.

The Secretary’s third reason was that the affidavit on the Living Wage petition did not match the

affidavit form provided in the City Charter.

       28.     The City Secretary did not raise any objection concerning the validity of the petition

signatures themselves or the number of signatures submitted.

D.     Ground Game’s Amended Petition

       29.     On May 13, 2022, Ground Game submitted an amendment to its Living Wage

petition. In its amendment, Ground Game provided the City Secretary with the dates of birth for each

of the five members of the petitioner’s committee.3 Ground Game also provided new notarizations

for each of the 214 pages of signatures submitted to the City Secretary to match the affidavit form

provided in the City Charter.


3
 The Edinburg City Charter does not require a petition form to include the dates of birth of the five-
person committee of the petitioner. Ground Game provided this information as a courtesy to the City
Secretary to assist in the verification of the voter registration status of the five members of the
petitioner’s committee.

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       30.       In response to the City Secretary’s objection regarding the people who circulated the

petition, Ground Game provided a legal memorandum, explaining how binding federal precedent

prohibits any local policy that would require petition circulators to be registered voters of the City.

       31.       Thus, as of May 13, 2022, Ground Game had complied with all petition requirements.

The organization had submitted sufficient signatures to qualify for the ballot. The organization

amended its submission to provide notarized affidavits, with the proper affidavit language, for every

signature page submitted. The form of the petition complied with all other requirements under city

and state law.

E.     City Secretary’s Final Denial of Certification

       32.       On May 20, 2022, new City Secretary Clarice Y. Balderas notified Ground Game that

she had reviewed the original and amended petitions and that she would not certify the Living Wage

petition. (Ex. C, “Secretary’s Second Letter.”) The Secretary listed three objections to the Ground

Game petition.

       33.       The Secretary’s first objection was that, “The names and addresses, with or without

the signatures or dates of births of the five voters of the City, did not appear in the petition.”

       34.       The Secretary’s first objection apparently overlooked that the second page of each

petition form contained the names and addresses of the five members of the petitioners’ committee.

       35.       The Secretary’s second objection was that, “The five names of the five voters of the

City listed on the 214 pages of the petition did not match the names on the affidavits.”

       36        The Secretary’s third objection was that, “Although an amendment was received

correcting the wording on the affidavits, the names of the people signing the affidavits did not match

any of the names of the five voters of the City listed on the 214 pages of the petition.”

       37.       In her second and third objections, the Secretary restates the City’s policy that only

the five members of the petitioner’s committee were eligible to circulate the Living Wage petition.


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                                     V.     CAUSE OF ACTION

                          FIRST AMENDMENT: RIGHT TO PETITION
                                    (42 U.S.C. § 1983)

           38.   Ground Game incorporates the previous paragraphs as if alleged herein.

           39.   The First Amendment to the United States Constitution, enforceable to the City of

  Edinburg through the Fourteenth Amendment and pursuant to 42 U.S.C. § 1983, provides that no

  law shall abridge the right to petition the government for redress of grievances.

           40.   As described above, through its original and amended petitions, Ground Game

  complied with all city and state requirements to qualify an initiated ordinance to be considered by

  the City Council of the City of Edinburg.

           41.   The City Secretary’s decision to refuse certification of Ground Game’s petition, on

  the grounds that petition circulators were not among the five registered City voters who formed

  the petitioner’s committee, violates the rights of Ground Game and the 880 Edinburg voters who

  signed the petition under the First Amendment's right to petition. The City Secretary also erred,

  and impermissibly burdened the fundamental First Amendment rights of Ground Game and the

  880 Edinburg petition signers, by refusing to certify the petition on the grounds that the names of

  the five-person committee of the petition appeared on the second page of the petition and not the

  first.

                              INJUNCTIVE AND DECLARATORY RELIEF

           42.   Ground Game seeks injunctive and declaratory relief pursuant to 42 U.S.C. § 1983 to

require the City Secretary and the City of Edinburg to verify Ground Game’s petition, expedite City

Charter timelines for initiative petition review, and undertake all necessary actions to ensure that the

Edinburg City Council has the opportunity to adopt the Living Wage petition or order a local election




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on the initiative no later than August 16, 2022, the deadline established by the Texas Secretary of

State for placing an item on the November 8, 2022 general election ballot.

        43.     Without injunctive relief, the City Secretary and the City of Edinburg will continue

their same practices and conduct, disregarding federal legal mandates, and burdening the

fundamental right to petition as guaranteed by the First Amendment.

        44.     Ground Game has no plain, adequate, or complete remedy at law to address the

wrongs described herein.

                                              ATTORNEYS’ FEES

        45.     Pursuant to 42 U.S.C. § 1988, Ground Game is entitled to recover attorneys’ fees,

litigation expenses, and court costs.

                                        PRAYER FOR RELIEF

        WHEREFORE, Ground Game respectfully requests that the Court award the following relief:

        A.      Issue a temporary restraining order requiring the City Secretary and the City of

Edinburg to verify Ground Game’s petition, expedite City Charter timelines for initiative petition

review, and undertake all necessary actions to ensure that the Edinburg City Council has the

opportunity to adopt the Living Wage petition or order a local election on the initiated ordinance no

later than August 16, 2022;

        B.      Remedy ongoing violations of law and the Constitution by granting declaratory and

injunctive relief, as set out in this complaint;

        C.      Permanently enjoin the City Secretary and the City of Edinburg to prevent violations of

the fundamental right of petition as described above, and prevent the City enforcing any requirement

that petition circulators be registered voters of the City of Edinburg or that petition circulators must be

limited to the five individuals who identify themselves as part of the committee of the petition;




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       D.      Find that Ground Game is the prevailing party in this case and award them attorneys’

fees, court costs, and litigation expenses; and

       E.      Grant such other and further relief as appears reasonable and just, to which Ground

Game may be entitled.


                                                  Respectfully submitted,

                                                  By: /s/ Michael Siegel
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                                                            *Application for Pro Hac Vice pending




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                                        VERIFICATION

       1.     My name is Julie Oliver. My date of birth is July 25, 1972, and my address is 3500

Werner Ave, Austin, Texas, 78722.

       2.     I am the Executive Director of Ground Game Texas.

       3.     I have personal knowledge of Ground Game Texas and its activities, including those

set out in the foregoing Verified Application for Temporary Restraining Order and Complaint for

Injunctive and Declaratory Relief.

       I declare under penalty of perjury that the foregoing is true and correct. Executed in Travis

County, State of Texas, on the 3rd day of June, 2022.


                                             _____________________________________
                                                         Julie Oliver, Declarant




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